                                                                              KS
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                                                                                     Sep 29, 2021


                             UM TED STATES DISTRICT COURT
                             SOUTH ERN DISTRICT OF FLORIDA
                   21-20491-CR-SCOLA/GOODMAN
                       CASE NO.
                                       18U.S.C.j 1349
                                       18U.S.C.j1344
                                       18U.S.C.j1028A(a)(1)
                                       18U.S.C.j1956(h)
                                       18U.S.C.j1956(a)(1)(B)(i)
                                       18U.S.C.j982
  U M TED STA TES O F A M ERICA

  VS.

 CITRTSTOPH ER SALERM O ,
       a/k/a V erm o,''
 RENE RIPES IH,
       a/k/a dishrim p,''
       a/k/a ççY oungB ull,''
 CARI,O LIJVAR A ESCOBAR,
       a/k/a ddciroc,''
 CLIFTON TAYLOR,Jr.,
 EDW IN CASTILLO ,
 JOH N ANTH ON Y PEREZ,
 ANA FIGUEROA,
       a/k/a dtA nita,''and
 BR ANDON COOPER,


              D efendants.
                                          /

                                       IO ICTM ENT

        TheCyrand Jury chargesthat:

                                G EN ER AL A LLEG A TIO N S

        Ata1ltim esrelevantto thisIndictm ent:

        1.    Bank 1 isafinancialinstitution with officeslocated in the state ofFlorid: whose

 accountsareinstlredbytheFederalDepositlnslzranceCorporation (1TDIC'')   .



              Com pany 1isincorporated in City ofG alax, Virginia.
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               lndividual1resided in City ofGalax,Virginia,and wasasignatory of Com pany 1

  bank accountatBarlk 1.

               Company 2 isincorporatedin Brow ard Cotmty,Florida.

               Individual 2 resided in M inm i-Dade Cotmty,Florida,and was a signatory of

  Com pany 2 bnnk accountatB nnk 1.'

        6.     Com pany 3 islocated in Palm Beach Cotmty, Florida.

               Individual 3 resided itl Palm Beach Cotmty, Florida,and was a signatory of

 Com pany 3 bnnk accountatBnnk 1.

               Company 4 islocated in SaintLucieCounty,Flodda.

        9.     Individual 4 resided in Saint Lucie Cotmty, Florida, and was a signatory of

 Com pany 4 bnnk accpuntatB nnk 1.

        10.    Company 5 islocated in Palm Beach Cotmty,Florida.

              Individual 5 resided in Palm Beach County,Florida,and was a signatory of

 Com pany 5 bnnk accountatB ank 1.

              Company 6 islocated in Palm Beach County,Florida.

        13.   Individual 6 resided in Palm Beach Cotmty, Florida, and was a signatory of

 Company 6bnnk accountatBnnk 1.

        14.   Company 7islocated in M iami-DadeCounty.

              lndividual 7 resided in M innni-Dade Cotmty,Florida, and w as a signatory of

 Compan# 7bank accotmtatBank 1.
        16.   Com pany 8 islocated in M iam i-D ade Cotm ty,Florida.

        17.   Individual 8 resided in M iam i-Dade County, Florida, and was a signatory of

 Company 8 bnnk accotmtatBnnk 1.



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         18.    The defendant,CH RISTO PH ER SA LER M O ,a/k/a ddtzerm o,''w as a residentof

  M inm i-Dade Colmty,Florida.

         19.    The defendant,RENE RIPES 111,a/k/a ddshrim p,''a/k/a ddYoungBull,''was a

 residentofM inmi-Dade County,Florida.

                The defendant,CART,O LUVAR A ESCOBAR,a/k/a Rcirow''wasaresidentof

  M iam i-Dade Cotm ty,Florida.

                Thedefendant,CLIFTON TAYLOR,Jr.,wasaresidentofM iam i-DadeCounty,

 Florida.

                The defendant,EDW IN CASTILLO,was a resident ofM iam i-Dade Cotmty,

 Florida.

                The defendant, JOHN ANTH ON Y PEREZ, was a resident of M inmi-Dade

 Cotmty,Florida.

        24.     The defendant,ANA FIGUEROA,a/k/a StAnita,''wasaresidentofM iam i-Dade

 Cotmty,Florida.

                The defendant,BM NDON COOPER,was a residentof M iam i-Dade Cotmty,

 Florida.

                                            C O IJN T 1
                               C onspiracy to C om m itB ank Fraud
                                      ' (18U.S.C.j1349)
                Paragraphs 1 through 25 ofthe G eneralA llegations section of this Indictm ent are

 re-alleged and incorporated ftzlly herein by reference.

                Beginning in oraroundJanuary 2019,and continuingthrough on oraboutJuly 29,

 2019,in M iam i-Dade,Broward,andPalm Beach Counties,intheSouthem DistrictofFlorida, atld

 elsewhere,the defendants,
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                                  CHRISTOPH ER SALERM O ,
                                       a/k/a ddluerm o ''
                                      Rxxlm lesfII,
                                       a/k/'v(dshrimp,''
                                     a/k/a oungsull''
                                 cAuto LcvARxEsdosAu,
                                        a/k/a uciroc''
                                   CLIFTONTAR W ,Jr.,
                                    Eow l' x cAsTILLo
                                  JOHNANTHONV I'Eltkz,
                                       ANA FIGCER OA ,
                                        a/k/a RA nita ''and
                                     sRxxoox côopER,
  did willfully,thatis,with intentto furthertheobjed oftheconspiracy,andknowingly combine,
  conspire,confederate,and agree w ith each otherand w ith othersknow n and Im know n to the Grand

  Jury to knowingly,and with intentto defraud,execute and cause the executipn ofa schem e and

  artitk e to defraud oneorm ore financialinstimtions,which schem e and artifice would employ a

  m aterialfalsehood,andto knowingly,andwith intentto defraud, executeand causetheexecution

  ofa scheme and artifk eto obtain m oneysandfundspwned by, andunderthecustody and control

  of,one or more finand alinstitutions,by means of m aterially false and fraudulent pretenses,

  representations,and prom isesrelating to a m aterialfact,in violation ofTitle 18, U nited States

  Code,Section 134441)and(2).
                      PURPO SE AND OBJECT OF THE CONSPIM CY

                ltwasthepurposeand objectoftheconspiracy forthe defendantsand theirco-
  conspiratorsto unlawfully emich them selvesand othersby, nmong otherstilings:(a)depositing

  false and fzaudulent checks Mdth stolen bnnk account and routing numbers f'
                                                                            rom legitim ate

 businesses and individuals into bank accotmts that the defendants and théir co-conspirators

  controlled;(b)forgingvictim signattlresonthefalseandfraudulentchecks;(c)withdrawingthe
 fllnds âom those accotmts afterthefalse and âaudulentcheckscleared, butbefore the financial

 institutionsdiscoveredthegaud;and(d)andusingtheillicitproceedsfortheirownpersonalgain.
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                      M ANNER AND M EANS OF TH E CONSPIR ACY
        The m armer and m eans by which the defendants and their co-conspirators sought to

  accomplishthepurposeandobjectofthisconspiracyincluded,amongotherthings,thefollowing:
        4.     CHRTSTOPHER SALERM O, a/k/a utzerm oy'' RENE RIPES 111, a/k/a

  ddshrim p,''a/lda RYoungBull,'' CARLO LUVAR A ESCOBAR,a/k/a diciroc,''CLIFTON

  TAYLOR ,Jr.,EDW IN CASTILLO,JOHN ANTHONY PEREZ,ANA FIGUEROA,a/k/a

  aAnita,''B       ON CO OPER and otherco-conspiratorswould illegally obtain bank accotmt

 inform ation,including accotmtholder,routing nllmber,and accountnumber, forcompaniesand        .
                                                                                 '*
                                                                                  :.
 individualswho had bnnk accountsatBnnk 1,withoutthecompany'salpdindivi;dual'spermission.

               CHATSTUPHER SAI,ERM O, a/k/a ddtzermo,'' CARTaO LW ARA
 ESCO BAR ,a/k/a Rciroc,''and otherco-conspiratorswould create false and f'raudulentchecks

 withtheaccotmtholders'nam esimprintedonthem ,alongwiththestolen routing andbankaccotmt
    .                          $
 numbersf'
         rom theaccountholders.

        6.     RENE RIPES 111,a/k/a RshrimpN''a/k/a ddYoungBullc ANA FIGIJEROA,
 a/k/a RAnitac BRANDON COOPER mld otherco-conspiratorswould recruitindividualsto
                                         !
 open bnnk accotmts and allow the co-conspiratorsto usethe bnnk accotm tsand recruitindividuqls

 to allow theco-conspiratersto usetheirexisting bank accountin theSouthern DistrictofFlorida.

               C H R IST O PH ER SALER M O , a/k/a Ettzerm o,'' R EN E R IPE S 111, a/k/a

 Rshrimp,''a/k/a ddYoungBull,''CARI,O LUVARA ESCOBAR a/k/a Rciroc,''CLIFTON
 TAYLOR,Jr.,EDW IN CASTILLO,JOHN AW HONY PEREZ,ANA FIGUEVOA,a/k/a
 çdAnitar'' BR ANDON CO OPER and other co-conspirators would forge the individuals'

 signaturesonthefalse andfraudulentcheckscontainingtheaccountholders'namesand thestolen

 routing and bnnk accountnllm bers.
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                8.      CH RISTO PH ER SA LER M O , a/k/a atzerm oy'' R EN E R IPES 1H , a/k/a

         ddshrim pr'' a/k/a RY oungBull,'' C AR LO L UV AR A ESC OBA R , a/k/a Rc irocy'' CL IFTO N

         TA Y LO R ,Jr.,ED W IN CA STILL O ,JO H N A NTH O N Y PE REZ ,A NA FIG U ER O A ,a/k/a

         dsAnita,''BRANDON COO PER andotherco-conspiratorswotllddepositthefalseandâaudulent
     '
         checksintobank accountsthatthedefendantsand theirco-conspiratorscontrolled.

                9.      CHRISTOPH ER SALERM O , a/k/a Rtzerm o,'' RENE RIPES 111, a/lt/a

         (dshrim pj'' a/k/a RY oungBullr'' CAR LO LUV A R A ESC O BAR , a/k/a ddciroc,'' C LIFTO N

         TAR OR,Jr.,EDW IN CA STILLO,JOH N ANTH ONY PEREZ,ANA FIG UER OA ,a/k/a

         tEAnita,''BRANDON CO OPER and othezco-conspiratorswouldw ithdraw theproceedsofthe

         false and âaudulentchecksfrom the bank accounts,and otherwise use theproceedsofthe false

         and fraudulentchecks,fortheirown benefitandthebenefk ofothers.

                Allin violation ofTitle 18,United StatesCode,Section 1349.

                                                  CO U N TS 2-10
                                                   B ank Fraud
                                                (18U.S.C j1344)
                          Paragraphs 1through 25 ofthe GeneralAllegationssection ofthis Indictment

         arere-alleged and incorporated ftzlly herein by reference.

               2.      Begirming on oraboutJanuary 2019,through on oraboutJuly 29, 2019,in M iam i-

         Dade Cotmty,in the Southem DistrictofFlorida,and elsewhere, the defendants as specified in

         each countbelow didknowingly,and with intentto defraud, execute,and atlem ptto execute,and

         cause the execution of,a schem e and artifice to defzaud one or m ore financial institm ions,

     including Bank 1,which sehem e and artificeem ployed am aterialfalsehood, and did knowingly,

         and with intentto defraud,execute,and attem ptto execute, and causetheexecution of,aschem e

     and artifice to obtain moneysand fnnds om aed by, and tmderthe custody and controlofone or
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  m orefinancialinstitutionsbym eansofmaterially falseandfraudulentlypretenses, representations,

  and prom ises,relating to a m aterial fad , in violation of Title 18,U nited States Code, Section

  1344(1)and(2).
                   PURPOSE AXD OBJECT OF THE SCHEME AND ARTIFICE
          3.       ltwasthepurposeandobjectoftheschemeandartificeforthedefendantsandtheir
  co-conspirators to tmlawfully emich them selves, and others, by, nmong others things:(a)

  depositing false and fraudulent ehecks with stolen bartk accotmt and routing ntzmbers 9om

  legitim ate businesses and individuals into bnnk accounts that the defendants and their co-

  conspirators controlled;(b) forging victim signatures on the false and fraudulentchecks;(c)
  withdrawingthefunds9om thoseaccountsafterthefalseandâaudulentcheckscleared, butbefore

  thefinancialinstitmionsdiscoveredthegaud;and (d)andusingtheillicitproceedsfortheirom l
  Persona'lgain.

                   M ANNER AND M EANS OF THE SCHEM E AND ARTIFICE

                   Paragraphs 4 through 9 ofthe M anner and M eans Section from Count 1 ofthis

  Indictm entare re-alleged and incorporated by reference asthough fully setforth herein as the

  description ofthe schem e and artifice.

                           FXECUTION OF THE SCH EM E AND ARTIFICE
                   On or aboutthe dates and forthe defendants specified in each Cotmtbelow , in

 M inm i-Dade County,in the Southem District of Florida, and elsewhere,the defendants did

 execute, and attem pt to execute, atld cause the execution of, the above-described schem e and

 artiticeto defraud,assetforth below:
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            2             CLIFTON               January 24,2019            Deposited a check with Com pany 1's
                         TAYLOR ,Jr.                                       stolen routing and accountnumberon
                                                                           it in the nm ount of approxim ately
                                                                           $5201.23, into a Bnnk 1 account
                                                                           ending in 9892.


            3             CLIFTON               January 24,2019            Deposited a check with Company 2's
                         TAYLOR,Jr.                                        stolen routing and accountnlzmberon
                                                                           it in the am ount of approxim ately
                                                                           $5,205.32, into a Bnnk 1 accotmt
                                                                           ending in 6746.


            4               CA R I,O            January 31, 2019           Deposited aacheck with Company 3's
                           LU V A R A                                      stolen routing and accolm tnllm beron
                          ESCOBAR,                                         it in the amotmt of approxim ately
                     .
                         a/k/a ddciroc''                                   $5,201.23, into a Bnnk 1 accotmt
                                                                           ending in 6599.


            5            RENE RIPES               June 6, 2019             Deposited a check with Company 4's
                              111,                                         stolen routing and accountmlmberon
                             a/k/a
                          (ushvlmn ,,                                      it in the amotmt of approxim ately
                              a)w
                                --J'                                       $4,235.24,into a Bnnk 1 accotmt
                         itY oungBullr''                                   ending in 5592.

            6             CLIFTO N                Jtm e 6, 2019            Deposited a check with Company 4's
                         TAYLOR ,Jr.                                       stolen routing and accotmtnlzm beron
                                                                           it in the am otmt of approxim ately
                                                                           $5,802.31, into a Bnnk 1 account
                                                                           endingin 2098.
            7            RENE RIPES               Jlme 6, 2019             Deposited a check with Company 5's
                            a1/11,
                               k/a                                         stolen routing and accountnum ber on
                          Rshrim p ',                                      it in the nm olm t of approxim ately
                                         ,
                             ayk/a                                         $6,402.21, into a Bnnk 1 account
                         dçY oungBull,''                                   ending in 3083.
                               and
                            E DW IN
                           CA STILLO




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     lou.
        nt        Defendantls)     ApprolmaiebYie                      Bxecuuon
       8             JO H N           Jtm e 27,2019       D eposited a check w ith Com pany 6's
                  A N TH O N Y                            stolen routing and accountnllm beron
                    PEREZ                                 it in the am otmt of approxim ately
                                                          $5,353.63, into a Bnnk 1 account
                                                          ending in 7833.

       9             JO H N           July 12,2019        D eposited a check w ith Com pany 7's
                  A N TH O N Y                            stolen routing and accountnllm beron
                    PER EZ                                it in the am ount of approxim ately
                                                          $5,245.25, into a Bnnk 1 accolmt
                                                          ending in 8487.

       10          EDW IN             July 25,2019        Deposited a check with Company 8's
                  CASTILLO                                stolen routing and accolmtnumberon
                                                          it in the am olmt of approxim ately
                                                          $5,503.23, into a Bnnk 1 accotmt
                                                          endingin 1469.

        lnviolationofTitle18,UnitedjtatesCode,Sections1344(1)and(2),and Section2.
                                       C O UN TS 11-19
                                  A ggravated Identity Theft
                                   (18U.S.C.j 1028A(a)(1))
               Paragraphs 1through 25 ofthe GeneralAllegationssection ofthisIndictmentare

 re-alleged and incorporatedfully herein by reference.

               On or aboutthe dates and forthe defendants specified in each Cotmtbelow,in

 M inm i-Dade Cotmty,in the Southern DistrictofFlorida,and elsewhere,during and in relation to

 afelonyviolationofTitle18,UnitedStatesCode,Section 1j44,thatis,lcnowingly,andwithintent
 to defraud,executing, and attem pting to execute, and causing the execution of, a schem e and

 artifice to defraud one or m ore finmwial institutions,which schem e and artifice em ployed a

 m aterialfalsehood,and knowingly,and with intent to defraud,executing,and attempting to

 execute,and causing the execution of,a schem e and artificeto obtain any ofthe m oneysand fam ds

 owned by,and tmderthe custody and controlof,one orm ore financialinstitutions,by meansof
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  materially falseandgaudulentpretenses,representations,andprornisesrelating to am aterialfact,

  ascharged in Counts2 tllrough 10,the defendantdid knowingly possessand use,withoutlawful

  authority,them eansofidentification ofindividuals,assetfol'th below:

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              ,urt,
                                pk if'epda pt
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                                                                                                                   .$ . ..:
          11         CL IFTO N            January 24,2019                          N am e and signature ofIndividual 1
                    TA Y LO R ,Jr.
          12         CLIFTO N             January 24,2019                          N am e and signattlre ofIndividual2
                    TA Y LO R ,Jr.
          13                   CARLO                  January 31,2019              N ame and signatureofIndividual3
                              LU VAR A
                             E SC O BA R ,
                            a/k/a Rc iroc''
          14                REN E R IPES                    June 6, 2019           N am e and signature ofIndividual4
                                  111,
                           a/k/a ddshrim p,''
                                 a/k/a
                            RY oun BuII,''
          15                  CLIFTON                       Jtme6,2019             Nameand signattu'eofIndividual4
                               TAYLOR;Jr.
          16                REN E R IPES                    June 6, 2019           Nam eand signattzre ofIndividual5
                                  111,
                           a/k/a Rshrim p,''
                                 a/k/a
                            dtY oungBull,''
                                  and
                               E DW IN
                              CA STIL LO
          17                         JOH N                  June27,2019            Nam eand signatureofIndividual6
                               AN TH O N Y
                                PER EZ
          18                     JO H N                     July 12,2019           N am e and signature oflndividual7
                               AN TH O N Y
                                PER EZ
          19                    ED W IN                     July 25,2019           N am e and signattlre ofIndividual8
                               CA ST ILL O

            InviolationofTitle18,UnitedStatesCode,Sectionsl028A(a)(l)and2.




                                                                     10
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                                          CO U N T 20
                           Conspiracy to C om m itM oney L aundering
                                        (18U.S.C.j1956(h))
                Paragraphs 1thzough 25 ofthe GeneralA llegationssection ofthisIndictm entand

  paragraphs4 through 9 oftheM annerand M eanssection f'
                                                       rom Count1ofthisIndictm entarere-

  alleged and incorporated fully herein by reference.
                                    z




                Begirm ing on oraboutJarm ary 24,2019,and continuing through on or aboutJuly

  29, 2019, in M iami-Dade Cotmty, in the Southern District of Florida, and elsewhere, the

  defendants,

                                 C H W ST OPH ER SALER M O ,
                                        a/k/a utzerm o M
                                       ltxxllupEsiu,
                                        a/k/Cvdishrimp,''
                                      a/k/a oungBull,,
                                 cARLo LUVARAEsdosAR,
                                         a/k/a ddc iroc ''
                                   ct,lrTox TAVLW Jr.,
                                     Eowlx cAslx t,b
                                  zouxAxTuoxvpEltkz,
                                      A xA FIG C ER O A
                                       a/k/a(tAnita,,anJ
                                    sRxxoox côopxu,
  didknowingly andvoluntarily combine,conspire,confederate,and agreewith each otherandwith

  otherpersons known and unknown to the Grand Jury,to comm itan offense againstthe United

  States,thatis,to knowingly conductafinancialtransaction affecting interstatecom merce,wllich

  transaction involved the proceeds of specified tmlawful activity, lcnowing that the property

  involved in the transaction represented the proceeds of som e form of unlaw ftzl activity, and

  knowingthatthetransaction wasdesigned in whole and inpartto concealand disguisethenature,

  the location,the source,the ownership,and the control of the proceeds of speci/ed llnlawful

  activity,inviolation ofTitle18,UnitedStatesCode,Section 1956(a)(1)(B)(i).
         ltisfurtheralleged thatthe specised llnlawftllactivity is conspiracy to com m itbnnk gaud

  andbank fraud,in violation ofTitle 18,United StatesCode,Sections1349 and 1344.
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                      Al1inviolationofTitle18,UnitedStatesCode,Section 1956(h).
                                                                       COUNTS 21-30
                                                                      M oney Laundering
                                                          (18U.S.C.j1956(a)(1)(B)(i))
                      4.         Paragraphs 1through 25 oftheGeneralAllegationssection ofthislndictm entand

  paragraphs4 through 9 oftheM annerand M eanssedion from Count1ofthislndictm entarere-

  alleged and incorporated fully herein by reference.

                                 On or aboutthe dates and for the defendants specified below,in M iami-Dade

  County,in theSouthem DistrictofFlorida,and elsewhere,thedefendantydid knowingly condud

  and attempt to condud a financialtransadion affeding interstate com m erce,which finanoial

  transadion involved the proceeds of specified lm lawful activity,knowing that the property

  involved in the financialtransadion represented theproceedsofsom e form ofllnlawf'ulactivity,

  and lcnowing thatthetransaction wasdesigned,in whole and in pat't,to concealand disguisethe'

  nature,the location,the som ce,the ownership,and the control of the proceeds of specified

  llnlawf'ulactivity,as setforth below :

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             21                  CLIFTON                    Januaty 25,2019                   W ithdrew $310.00 in cash f'
                                                                                                                         rom abank
                             TAYLOR ,Jr.                                                      accotmtending in 6746.


             22                  CLIFTON                    January 25,2019                   W ithdrew $1,000.00in cash from a
                             TAYLOR,Jr.                                                       bnnk accountending in 6746.


             23            REN E R IPES 111,                Febnzary 23, 2019                 W ithdrew $300.00 in cash f'
                                                                                                                         rom abnnk
                            a/k/a <tshrim pr''                                                accountending in 7179.
                           a/k/aRYoungBulv'
             24             R EN E R IPES 111, February 24, 2019 W ithdrew $300.00 in cash f'
                                                                                            rom a
                             a/k/a Gshrim prM                    Ban k 1 bnnk accounte ndi
                                                                                         ng  in 7179.
                           a/k/a RY oungB ull,''



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Case 1:21-cr-20491-RNS Document 3 Entered on FLSD Docket 09/30/2021 Page 13 of 25




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                 êfe dO ftJ)
                           ,         AppkoftW f'
                                               l 3:'? Elxecudon         '     :'               '
                                     Ii
                                      tA.!#
     25       H NE RIPES111, February25, 2019 W ithdrew $300.00 in cash from a bnnk
               a/k/a Rshrim pr''                          accotmtendingill7179.
             a/k/a RY oungBull,''
                   .



     26       R EN E RIPE S 111,     June 8, 2019         W ithdrew $300.00 irlcash flrortlabnnk
               a/k/a dtshrim pr''               '         account.ending in 5592.
             a/k/a dtY oungBull,D
     27       CH RTSTOPH ER          June 9, 2019         W ithdrew $300.40incashfrom abank
                 SAL ER M O ,                             accotm tending in 5592.
               a/k/a ddtzerm o,''
     28       R EN E RIPE S 111,     Jtm e 28, 2019       W ithdrew $1,000.00 in cash from a
               a/lt/a fçshrim p,''                        bnnk accountending in 7833.
            a/k/a WY oungBull,''
     29       R EN E R IPES 111,     July 28, 2019        W ithdrew $300.00 in cash âom abnnk
               a/k/aRshrim p,''                           accotmtending in 1069.
            a/k/a ddY oungBull,''                     .
     30       REN E R IPES 111,      July 29, 2019        W ithdrew $300.00 in cash from abank
               a/k/a Sishrim p,''                         accotm tending in 1069.
            a/k/a RY oungBull'''
                       .




          Itisfurtherallegedthatthe specifedlmlawfulactivity isconspiracytocom mitbnnk fraud

  andbnnk fraud,in violation ofTitle 18,United StatesCode,Sedions 1349 and 1344.

          lnviolation ofTitle18,UnitedStatesCode,Sections1956(a)(1)(B)(i)and2.
                                FORFEITURE ALLEGATIONS

                Theallegationsofthislndidmentazehereby re-alleged andby tltisreferencef'ully

  ineop oratedherein forthepurposeofalleging forfeituretotheUnited StatesofAm ericaofcertain

  propertyinwhichthedefendants,CH W STOPH ER SALERM O ,a/k/aWtzerm o,''RENE RIPES

  111, a/k/a dsshrim py'' a/lda ddYoungBull,'' CARI,O LUVARA ESCOBAR, a/k/a ddciroc,''

  CL IFTO N TAY LO R , Jr., EDW IN CASTILLO, JOHN ANTH ONY PEREZ, ANA

  FIG U ER O A ,a/k/a RA nitar''and BM ND O N C O O PER have an interest.

                Upon convidion ofaviolation of,oraconspiracy toviolate,Title 18,UnitedStates

  Code,Sedion 1344,asalleged in thislndictment,the defendantso convided shallforfeitto the

  UllitedStatesofAmerica,plzrsuanttoTitle18,UnitedStatesCode,Section982(a)(2),anyproperty
                                                13
Case 1:21-cr-20491-RNS Document 3 Entered on FLSD Docket 09/30/2021 Page 14 of 25




  constituting,orderived from ,proceedsthe convicted defendantobtained,directly orindirectly,as

  the resultofsuch violation.

                      Upon conviction ofa violation ofTitle 18,United States Code,Section 1956,as

  allegedinthislndictm ent,thedefendantsoconvicted shallforfeittotheUnited StatesofAm erica,

  ptlrsuantto Title 18,United States Code,Sedion 982(a)(1),any property,realor personal,
  involved in such violation,oratly property traceableto suchproperty.

             A11ptlrsuantto Title 18,United States Code,Sections 982(a)(1) and (a)(2),and the
  procedtlressetforth atTitle 21,United StatesCode,Section 853,asmade applicableby Title 18,

  United StatesCode,Section 982(b)(1).
                                                        A TRU E BILL



                                                        FO        ON
                         *           .




  JU           TON IO G O z M EZ
  A CT           ITED TA TES A TTORN EY
         ,
         ,                   /
               . v'



  KU RT .L        N HEINW R
  A SSISTAN T UN ITED STATES ATTORN EY




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  Case 1:21-cr-20491-RNS Document 3 Entered on FLSD Docket 09/30/2021 Page 15 of 25

                                            UM TEDSTATESDISTRIG CoIJRT
                                            SOUTHERNDISTRICT OFFLORIDA

 UM TED STATESOF AG W CA                               CASE NO .

                                                       CERTIFICATE O F TRIAL ATTORN EYA
  CHRISTOPHER SALERMO etaI.,                           Superseding CaseInform ation:
                              Defendants/
   courtDivision:tselectOne)                          Newdefendantts) I--IYes I
                                                                              --INo
   Uz-lMiami I-llteyWest F-IFTL                       Numberofnewdefendants
   F-IWPB F-IFTP                                      Totalnumberofcounts               '
        1.Ihavecarefullyconsideredtheallegationsoi-theindictment,thenumberofdefendants,thenumberofproGble
         witnessesand thelegalcom plexitiesoftheIndictment/lnform ation attachedhereto.
       2.1am awarethattheinformation supplied onthisstatem entwillberelied upon by theJudgesofthisCourtin
         setlingtheircalendarsand scheduling crim inaltrialsunderthem andateoftheSpeedy TrialAct,
         Title28 U.S.C.Section 3161.
       3.Interpreter:(YesorNo)Yes
         Listlanguageand/ordialect Spani  sh
       4.Thiscasewilltake 8 daysforthepartiestotry.
         Pleasecheck appropriatecategory andtypeofoffense listedbelow:
            (Checkonlyone)                           (Checkonlyone)
         I 0to5days              E7I                   Petty             (7l
         11 6to10days            Iz '                  Minor             EEI
         I1I 11to20days          I71                   Misdemeanor       ED
         IV 21to60days           EqI                   Felony            EdE
         V 61daysandover         EEI
        6.HasthiscasepreviouslybeenfiledintllisDistrictCourt? (YesorNo) N0
           Ifyes:Judge                                 CaseN o.
           (Attachcopyofdispositiveorder)                                                   '
           H&sacomplaintbeenfiledinthismatter? (YesorNo) No
           lfyes:M agistrateCase No.
           Relatedm iscellaneousnum bers:
           Defendantts)infederalcustodyasof
           Defendantts)instatecustodyasof
           Rule20 from theDistrictof
           Isthisapotentialdeathpenaltycmse?(YesorNo) No
        7. Doesthiscase originatefrom amatterpending intheCentralRegion oftheU .S.Attorney'sOffice priorto
           August9,2013(M ag.JudgeAlicia0.Valle)?(YesorNo) No
        8.Doesthiscase originatefrom amatterpending intheN orthernRegion oftheU .S.Attorney'sOfficepriorto
           August8,2014(M ag.JudgeShaniekM aynard?(YesorNo) No
        9. Doesthiscase originatefrom am atterpendingin theCentralRegion oftheU.S.Attorney'sOfficepriorto
           October3,2019(M ag.JudgeJaredStrauss)?(YesorNo) No
                                                                              z/z




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                                                                                    t
                                                                    KURT K.Q                    R
                                                                    AssistantUnited StatesAttorney
                                                                    CourtID No.      A5501535
*penaltySheetts)attached                                                                             REV 3/19/21
Case 1:21-cr-20491-RNS Document 3 Entered on FLSD Docket 09/30/2021 Page 16 of 25




                            IJNITED STATESDISTRICT COURT
                            SO UTH ER N DISTRICT O F FLOR IDA

                                       PENA LTY SH EET

   D efendant'sN am e:CHRISTOPHER SA LERM O ,a/k/a Et erm o''

   Count#:1

   Conspiracv to Com m itB ank Fraud

   Title 18.United StatesCode.Section 1349                                    '

   *M ax.Penalty:30 Years'Im prisonm ent

   Count# 20

   Conspiracy to Com m itM oney Launderinz

   Title18.UnitedStatesCode.Section 1956(h)
   *M ax.Penalty:20 Y ears'Im prisônm ent

   Count#:27

   M onev Launderina

   Title 18.United StatesCode.Section 1956(a)(1)(B)(i)
   *M ax.Penalty:20 Years'Im prisonm ent




    *Refersonly to possible term '
                                 ofincarceration,does notincludepossible lines,restitution,
           specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
Case 1:21-cr-20491-RNS Document 3 Entered on FLSD Docket 09/30/2021 Page 17 of 25




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                     PEN A LTY SH EET

  D efendant'sNam e:RENE RIPES 111.a/k/aEtsluim ps''a/k/a<GYotmzBu11''

  Cotmt#:1

  Conspiracv to Com m itBnnk Fraud

  Title 18.United StatesCode.Section 1349

  *M ax.Penalty:30 Y ears'lm prisonm ent

  Cotmts#:5 and 7

  Bank Fraud

  Title 18eUnited StatesCode.Section 1344                     .




  *M ax.Penalty:30 Y ears'Im prisonm ent

  Cotmts#:14 and 16

  Aggravated Identitv Theft

  Title 18sUnited StatesCodeeSection 1028A(a)(1)
  *M ax.Penalty:2 Years'lm plisonm ent

  Count#:20

  Conspiracy to Cornm itM onev Laundetinc

  Title18.UnitedStatesCode.Section 1956(h)
  *M ax.Penalty:20 Years'Im pdsonm ent
Case 1:21-cr-20491-RNS Document 3 Entered on FLSD Docket 09/30/2021 Page 18 of 25




                                        PEN ALTY SH EET

  Defendant'sN am e:REN E RIPES IIIsa/k/a lGsllrim p.''a/lc/a ççY otm aBull''

  Cotmts#:23-26 and 28-30

  M oney Latm derina

  Title 18.Urliied StatesCodeeSection 1956(a)(1)(B)(i)
  *M ax.Penalty:20 Y ears'Im m isonm ent




   frR efers only to possible term ofincarceration,does notinclude possiblefines,restitution,
             specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
Case 1:21-cr-20491-RNS Document 3 Entered on FLSD Docket 09/30/2021 Page 19 of 25




                               IJN ITED STATES DISTW CT CO UR T
                               SO UTH ER N DISTRICT O F FLOIU D A

                                       PEN ALTY SH EET

   D efendant'sNam e:CARLO LUV ARA ESCOBAR .a/k/aGûciroc''

   Count#:1

   Conspiracv to Com m itB ank Fraud

    Title 18.United StatesCode-Section 1349

   *M ax.Penalty:30 Years'Im prisonm ent

   Count#:4

   Bank Fraud

   Title 18.United ShtesCode.Section 1344

   *M ax.Penalty:30 Years'Im prisonm ent

   Count#:13

   Aaaravated Identitv Theft

   Title 18.United ltatesCode.Section 1028A(a)(1)
   *M ax.Penalty:2 Yeais'Imprisonment

   Count#:20

   Conspiracv to Com m itM onev Laundering

   Title 18.United StatesCode.Section 1956(h)

   *M ax.Penalty:20 Y ears'lm prisonm ent




    WRefersonly to possible term ofincarceration,does notinclude possible lines,restitution,
           specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
Case 1:21-cr-20491-RNS Document 3 Entered on FLSD Docket 09/30/2021 Page 20 of 25




                              UNITE: NIA TES DISTRICT COURT
                              SO U TH ER N DISTRIC T O F FL O R ID A

                                       PEN A LTY SH EET

  D efendant's N âm e:CLIFTON TA Y LO R..
                                        IR .

  Count#:1

  Conspiracy to Com m itBnnk Fraud

  Title 18-Urlited States Code.Section 1349

  *M ax.Penalty:30 Years'Im prisonm ent

  Counts#:2,3,and 6



  Title 18.United StatesCodesSection 1344

  *M ax.Penalty:30 Y ears'Im prisonm ent

  Cotmts#:11,12,and 15

  Aggravated Identity Theft

  Title 18.United StatesCodeeSection 1028A(a)(1)
  *M ax.Penalty:2 Y ears'lm pdsonm ent
                                .




  Cotm t#:20

  Conspiracy to Com mitM onev Launderina

  Title 18.United StatesCodesSection 1956(h)
  ''
   rM ax.Penalty:20 Y ears'lm prisonm ent
Case 1:21-cr-20491-RNS Document 3 Entered on FLSD Docket 09/30/2021 Page 21 of 25




                                     PEN A LTY SH EET

  D efendant's N am e:CLIFTON TA Y LO R.JR .

  Cotm ts#:21-22

  M oney Laundednc

  Title 18.United StatesCode.Section 1956(a)(1)(B)(i)                         .
  *M ax.Penalty:20 Y ears'lm prisonm ent




   '
   QR efers only to possible term ofincarceration,does notinclude possible,fines,restitution,
           .specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
Case 1:21-cr-20491-RNS Document 3 Entered on FLSD Docket 09/30/2021 Page 22 of 25




                                UNITED STATES DISTRICT CO UR T
                                SOU TH ER N DISTRICT OF FL OR IDA

                                        PENA LTY SH EET

   Defendant'sN am e:EDW IN CASTILLO                                                            .

   Count#:1

   Conspiracv to Com m itBank Fraud

    Title 18.United StatesCode,Section 1349
                           '
                j

   *M ax.Penalty:30 Years'Im priso'
                                  nm ent

   Count#:7 and 10

   Bank Frapd

   Title 18.United StatesCode.Section 1344

   *M ax.Penalty:30 Y ears'lm prisonm ent

   Count#:16 and 19

   A Raravated Identitv Theft

   Title 18.United StatesCode.Section 1028A(a)(1)
   *M ax.Penalty:2 Y ears'lm prisonm ent

   Count#:20

   Conspiracy to Com m itM onev Laundering                                                .

   Title 18.United StatesCode.Section 1956(h)

   *M ax.Penalty:20 Years'lm prisonm ent




    *R efers only to possible term ofincarceration,doesnotinclude possible fines,restitution,
             specialassessm ents,parole term s,or forfeitures that m ay be applicable.
Case 1:21-cr-20491-RNS Document 3 Entered on FLSD Docket 09/30/2021 Page 23 of 25




                                 U NITED STA TES D ISTR ICT C O URT
                                 SO UTIIERN D ISTR IC T O F FLO RIDA

                                          PEN ALTY SH EET

   D efendant'sN am e:JOHN A N TH ON Y PEREZ

   Count#:1

   Conspiracy to Com m itBank Fraud

   Title 18.United States Code,Section 1349

   *M ax.Penalty:30 Years'Im prisonm ent

   Counts#:8-9

   B ank Fraud

   Title 18.United StatesCode.Section 1344

   *M ax.Penalty:30 Y ears'lm prisonm ent

   Counts#:17-18

   A zkrravated Identity Theft

   Title 18,United StatesCode.Section 1028A(a)(1)
   *M ax.Penalty:2 Y ears'Im prisonm ent                        .

   Count#:20

   Conspiracy to Com m itM oney Laundering

   Title 18.United StatesCodesSection 1956410
   *M ax.Penalty:20 Years'lm prisonm ent




    frR efers only to possible term ofincarceration'
                                                   ,doesnotinclude possible fines,restitution,
              specialassessm ents,parole term s,or forfeituresthat m ay be applicable.
Case 1:21-cr-20491-RNS Document 3 Entered on FLSD Docket 09/30/2021 Page 24 of 25




                             UN ITED STATES DISTRICT C OU RT
                             SO UTH ERN DISTR IC T O F FLO RIDA

                                        PEN ALTY SH EET

   D efendant's Nam e;ANA FIGU EROA.a/k/a CW nita''

    Count#:1

    Conspiracy to Com m itB ank Fraud

    Title 18.United StatesCode,Section 1349

    *M ax.Penalty:30 Y ears'lm prisonm ent

   Count#:20

   Conspiracv to Com m itM onev Latm dering

   Title 18.United StatésCode.Section 1956(h)

    SrM ax.Penalty:20 Years'Im prisonm ent




     *R efers only to possibleterm ofincarceration,does notinclude possible fines,restitution,
              specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
Case 1:21-cr-20491-RNS Document 3 Entered on FLSD Docket 09/30/2021 Page 25 of 25




                            UN ITED STATES DISTRICT C OU RT
                            SO UTH ER N DISTR IC T O F FLO RIDA

                                      PENA LTY SH EET

   D efendant's Nam e:BRAN D ON COOPER

   Count#:1

   Conspiracv to Com m itBank Fraud

    Title 18,United StatesCode,Section 1349

   *M ax.Penalty:30 Years'Im prisomuent

   Count#:20

   Conspiracy to Com m itM oney Launderina

   Title 18.United StatesCodesSection 1956(h)
   *M ax.Penalty:20 Years'Im prisonm ent




    *Refersonly to possible term ofincarceration,does notinclude possible fines,restitution,
           specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
